






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00262-CR






Kwan Hung Ng, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT

NO. D-1-DC-08-301833, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

PER CURIAM

		Appellant's brief was due in this Court on November 10, 2010.  On November 24,
2010, we notified appellant's counsel that appellant's brief was overdue and that if we did not
receive a satisfactory response from counsel on or before December 6, 2010, a hearing before the
district court pursuant to Tex. R. App. P. 38.8(b) would be ordered.  To date, appellant's brief has
not been filed, nor have we received a response from counsel. 

		We therefore abate the cause and remand it to the district court to hold a hearing
in&nbsp;accordance with rule 38.8 of the rules of appellate procedure.  Tex. R. App. P. 38.8(b)(2), (3).  The
district court shall hold a hearing immediately to determine whether appellant still wishes to
prosecute his appeal, whether appellant is indigent, and whether counsel has abandoned the appeal.
See id.  If appellant desires to appeal and is indigent, the district court should make appropriate
orders to ensure that appellant is adequately represented on appeal.  See id.  Following the hearing,
the district court should order the appropriate supplementary clerk's and reporter's records to be
prepared and forwarded to this Court no later than February 11, 2011.  See id. 



Before Justices Puryear, Pemberton and Rose

Abated

Filed:   January 12, 2011

Do Not Publish


